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Re"- 3/83) Case 2:01-cr-20011-BBD Document 45 Filed 08/05/05 Page 1 of 2 Page|D 40

UNITE]) STATES DISTRICT COURT mario BY _,€°é:._ D_C_

for

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Ci..El:ii"\, i!S nli’vm,l
U. S. A. vs. Sandra Cain Docket No. \.*_ .010 1

WESTERN DISTRIC'I` OF TENNESSEE

  

Petition on Probation and Supervised Release

COMES NOW Nicole D. Peterson PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Sandra C_________a____in who was placed on supervision by the Honorable J_on
Phipps McCalla sitting in the Court at Memphis, TN on the 22nd day of June_ 2001 who fixed the period of
supervision at five 151 years, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

l. The defendant shall participate as directed in a program of mental health treatment approved by the Probation
Ofiicer. (Completed)

2. The defendant shall seek and maintain lawiiil employment

3. The defendant shall not engage in any gambling activity, and defendant shall not travel to any destination
where gambling is the dominant form of entertainment

4. The defendant shall pay restitution in the amount of $94,998.68. (Remaining balance: $94,] 68.68)

RESPECTFULLY PRESEN'I`ING PETITION F()R ACTION OF COURT FOR CAUSE AS FOLLOWS:

(lf short insert here; if lengthy wn'te on separate sheet and attach)

Sandra Cain fits the criteria for early termination recommended by the Judicial Conference Committee on Criminal
Law. She has made progressive strides toward achieving supervision objectives and appears to pose no risk to public
safety. She did not work consistently due to health problems Regardless, she has made a good faith effort to satisfy
the restitution requirement, paying on the months that she was able. She has an outstanding balance of $94,168.68.
Ms. Cain Was recently awarded disability and has signed an agreement with the U. S. Attorney’s OHice to make
monthly payments in the amount of $25.00. This officer spoke with Assistant U. S. Attorney Larry Laurenzi who
indicated that the U. S. Attorney’s Oflice had no position on this matter.

PRAYING THAT THE COURT WILL ORDER Sandra Cain be discharged ii'om supervision with the
understanding that the United States Attorney’s OHice Will be responsible for the continued collection of restitution
in this matter.

   

 

 

 

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Consid red and ordered this "`/ day \¢_;o@ UL¢@‘M:

of Ut , ZOQ_§ and ordered filed 600`1`% Q>’ Nicole D. Peterson
and made diaz of the records in the above O\\‘Q<\® 09 °"\ United States Probation Oiiicer

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QV\Q mi QM Q§\@ \O\fb Place Memphis, Tennessee

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Ur€edj&tes maria Judge /\@@€>:§@@`° pate Julv 27, 2005

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:0]-CR-200]l was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

Lawrence J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Thomas P Pera

COCHRAN UHLMANN ABNEY DUCK & WRIGHT
150 Court Avenue

2nd Fl.

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

